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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
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Sequence number 002570554373 Posting date 11-JUL-11

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